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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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IN RE: GOOGLE DIGITAL ADVERTISING                                     21-md-3010 (PKC)
ANTITRUST LITIGATION
                                                                 PRE-TRIAL ORDER NO. 5
                                                                  SCHEDULING ORDER

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CASTEL, Senior District Judge:

                 Civil Case Management Plans (the “Plans”) have been submitted by or with

the input of the parties in accordance with Rule 26(f)(3), Fed. R. Civ. P., and Pretrial Order

No. 2 (Doc. 309). Having considered those Plans and any accompanying submissions, the

Court enters the following Scheduling Order:

 1.      Amended pleadings may not be filed and additional parties may not be joined

         except pursuant to the procedures set forth in Pre-Trial Order Nos. 2, 3 and 4. Any

         motion to amend or join additional parties (except as to the state law claims, as to

         which amendments are stayed pending further Order) shall be filed within 30 days

         of this Order.

 2.      The parties shall negotiate an appropriate protocol regarding Electronically Stored

         Information and present either an agreed-upon proposed stipulation, or their

         respective positions as to those portions of the stipulation on which they do not

         agree, by January 13, 2023.

 3.      The parties reserve all rights to object to discovery, including on relevance grounds.

         In view of the Opinion and Order of September 13, 2022, discovery relating to the

         Network Bidding Agreement is stayed pending further Order.

 4.      Initial disclosures, pursuant to Rule 26(a)(1), if they have not been previously

         served, shall be served by January 13, 2023. The parties shall comply with their
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        obligations under Rule 26(e) to supplement or correct initial disclosures in a timely

        manner.

5.      All fact discovery shall be completed by June 28, 2024. The Court has considered

        the substantial document production that has already been made in these actions and

        the complexities and other exceptional circumstances presented by these actions.

6.      The parties are to conduct discovery in accordance with the Federal Rules of Civil

        Procedure and the Local Rules of the Southern District of New York. The interim

        deadlines may be extended by the written consent of the parties without application

        to the Court, provided that all fact discovery is completed by the date set forth in

        paragraph 5 above:

        6.1.   Initial requests for production of documents and data shall be served by

               January 27, 2023. The parties shall substantially complete production of

               documents, including data responsive to the initial requests, within four

               months of service.

        6.2.   No Interrogatories shall be served except in compliance with Local Rule

               33.3(a) without first obtaining leave of Court, except as follows: defendants

               may serve one set of interrogatories not to exceed 25 questions on each

               named plaintiff, including named class representatives, in each Member

               Case by January 27, 2023.

        6.3.   Requests to Admit for the purpose of authenticating documents may be

               served no later than 45 days prior to the close of fact discovery identified in

               paragraph 5 above.

        6.4.   Depositions of fact witnesses shall be completed by the close of fact

               discovery identified in paragraph 5 above.



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        6.5.   Plaintiffs and defendants shall be permitted to take up to 15 fact-witness

               depositions per side. A party may seek leave of Court to depose additional

               witnesses by identifying the particular witnesses by name (or Rule 30(b)(6)

               categories), describing the matters on which they have unique knowledge;

               and identifying the actions to which the particular witness pertains. With

               the consent of the examined witness or leave of a Court, the 7-hour limited

               may be modified.

        6.6.   The parties are encouraged to stipulate to the manner of conducting a

               particular deposition (e.g. videotaped, telephonically, remote video, written

               questions).

        6.7.   Duplicative questioning of witnesses is not permitted and, absent a finding

               of good cause by the Court, no fact witness may be examined more than

               once.

7.      All expert discovery shall be completed by December 27, 2024. Plaintiffs shall

        serve opening reports of all experts within 45 days after the close of fact discovery.

        Defendant(s) shall serve responsive expert reports within 45 days after the service

        of plaintiffs’ expert reports. Plaintiffs may then serve any rebuttal expert reports

        within 45 days after the service of defendant(s)’ reports. Depositions of experts

        shall be completed within 45 days following the service by plaintiffs of rebuttal

        expert reports. The parties are invited to negotiate an appropriate stipulation

        regarding expert testimony and present either the agreed-upon proposed

        stipulations, or their respective positions as to those portions of the stipulations on

        which they do not agree, by January 12, 2024.




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 8.      Absent further Order from the Court, motions for class certification are deferred

         until after the close of fact and expert discovery. Plaintiffs in the proposed class

         actions will move for certification within 30 days after the close of expert

         discovery. Defendant(s) will respond to the certification motions within 30 days

         after their filing, and each of the class plaintiffs may file a reply within 20 days

         after the filing of defendant(s)’ responses.

 9.      All motions and applications shall be governed by the Court’s Individual Practices,

         including pre-motion letter requirements. Pursuant to the authority of Rule

         16(c)(2), any motion for summary judgment will be deemed untimely unless a pre-

         motion letter relating thereto is filed no later than 14 days after the date set by the

         Court for the close of expert discovery. No party shall file any summary judgment

         motions prior to the close of expert discovery.

10.      The time for filing Final Pre-Trial Submissions is stayed pending further Order of

         this Court.

11.       No party waives any existing rights to remand to its transferor court under 28

         U.S.C. § 1407(a) or any other right related to the change of venue. See Lexecon Inc.

         v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998); Manual for

         Complex Litigation § 22.93 at p. 463 (4th ed.).

12.      This Order may not be modified or the dates herein extended, except by further

         Order of this Court for good cause shown. Any application to modify or extend the

         dates herein shall be made in a written application in accordance with the Court’s

         Individual Practices and shall be made no less than fourteen (14) days prior to the

         expiration of the date sought to be extended.



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13.   The next Case Management Conference will be held on February 15, 2023 at 2 p.m.

      in Courtroom 11D. No matter may be raised at the Conference unless a letter

      detailing the party’s position is filed with the Court 14 day in advance of the

      Conference. Any response shall be filed 7 days thereafter. This procedure shall

      apply to all future Conferences.



      SO ORDERED.




Dated: New York, New York
       November 21, 2022




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